
PER CURIAM.
*268We reverse the imposition of investigative costs for the Seminole County Sheriff's Office in the amount of $156.76 and for the Sanford Police Department in the amount of $250.00, and the cost of prosecution in excess of $100.00 because there was no competent, substantial evidence to support those amounts. See § 938.27(7) - (8), Fla. Stat. (2016). We therefore remand to give the State an opportunity to produce the appropriate documentation. Munoz v. State , 884 So.2d 1070 (Fla. 5th DCA 2004) ; see also Phillips v. State , 942 So.2d 1042 (Fla. 2d DCA 2006).
We otherwise affirm.
AFFIRMED in part; REVERSED in part; and REMANDED.
EVANDER, C.J., WALLIS and EISNAUGLE, JJ., concur.
